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                                                                                      May 24, 2019


                              U N ITED STATE S D ISTR ICT CO U R T
                          19-60134-CR-ZLOCH/HUNT
                             SO UT H ER N D ISTR ICT O F FL O R ID A

                               CA SE N O .
                                                  18U.S.C.j1546(a)
                                                  18U.S.C.j982(a)(6)

   UN ITED STATE S O F AM ERIC A

   VS.

   JENN Y H ER NA N DE Z,

            D efendant.
                                              /

                                          IN FO R M A TIO N

            TheUnited StatesAttorney chargesthat:

                                    G EN ER AL ALLEG ATIO N S

   Atal1tim esrelevantto this Inform ation:

         1. The DepartmentofHom eland Security and United StatesCitizenship and lm migration

   Services (hereinafter refen'ed to as tSUSCIS'') were agencies ofthe executive branch of the
   Governm entofthe U nited States.

         2. CorporateVictim 1(hereinafterreferredto asCICV-1'5)wasincorporatedintheStateof
   Florida in 2007,w ith itsprincipalplace ofbusiness in M iam i-D ade County,Florida. CV -I w as

   a Florida for-profitsupply com pany located in D oral,Florida.

            CorporateVictim 2(hereinafterreferredto asç;CV-2'')wasincorporatedintheStateof
  Florida in 2001,w ith its principalplace ofbusinessin M iam i-D ade County,Florida. CV -2 w as

  a Florida for-protitlogistics com pany located in D oral,Florida.
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          CoporateVictim 3(hereinafterreferredtoast$CV-3'')wasincorporatedintheStateof
   Floridain 2012,with itsprincipalplace ofbusinessin M iam i-Dade County,Florida.CV-3 wasa

   Florida for-profitinvestm entcompany loeated in Doral,Florida.

           PetitBakery CafeLLC wasincorporatedintheStateofFlorida in 2013,with itsprincipal

   place ofbusiness in Broward County,Florida. PetitBakery Cafe LLC wasa Florida for-profit

   baking businesslocated in CoralSprings,Floridaowned by thedefendantand anotherindividual.

      6. FourJ's ofU SA Corp.w as incorporated in the State ofFlorida in 2014, w ith its

   principalplaee ofbusinessin Broward County,Florida. FourJ's ofUSA Corp.w asa limited

   liability corporation owned by the defendantand anotherindividual.

      7. lmmigrationForm Center(hereinaherreferredtoas$û1FC''),Inc.wasincorporatedin
   the StateofFloridain 2004,with itsprincipalplaceofbusinessin Broward County, Florida. 1FC

   w as a for-profitFlorida im m igration consulting corporation run by the defendant, located at546l

  N .U niversity D rive,Suite 104,CoralSprings,Florida 33067. On the Brow ard County Property

   Appraiser'swebsite,IFC'Saddresswaslisted as546lN .University Drive,//1204, CoralSprings,

   Florida 33067. The former was IFC'S m ailing address and latter was its legaladdress. The

   defendantwasthePresidentand registered agentoftheIFC.

          Relevantto thedatessetforth in thislnform ation,thedefendantandherbusinesses

   maintainedthefollowing bank accotmtsin the Southern DistrictofFlorida:

         a. A ccountnum berending in 4987 in the nnm e ofççFourJ's ofU SA Corp.''at

             SunTrustB ank in Brow ard C ounty,Florida. The defendant w as a signatory on this

             account.
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             Account num ber ending in 1835 in the nam e of tclm m igration Form Center Inc.''at

             SunTrust Bank in Brow ard County,Florida. The defendant w as a signatory on this

             account.

                                            C O U N TS 1-4
                              False Statem ents in lm m igration A pplication
                                            (18U.S.C.j1546(a))
              Paragraphs 1through 8 ofthe GeneralA llegationssection ofthislnform ation are re-

   alleged and incorporated by reference asiffully setforth herein.

              On oraboutthe datessetforth in each eountbelow ,in Brow ard County,in the Southern

   DistrictofFloridaand elsewhere,the defendant,

                                        JEN NY H ER N AN D EZ,

   did know ingly presentand causeto be presented to the United States Citizenship and Im m igration

   Services,an application required by the im m igration law s and regulations prescribed thereunder,

   w hich contained false statem entsw ith respectto a m aterialfact,thatis,a Fonu 1-140,lm m igrant

   Petition for A lien W orker,in w hich the defendant stated that the aliens set fol'th in each count

   below w ere going to w ork as m ultinationalexecutives orm anagers atbusinessessetforth in each

   countbelow ,when in truth and in fact,asthe defendantthen and there wellknew ,said statem ents

   assetforth in each countbelow,were false:
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            1                     J.E.P.C.         On the Form 1-140, Imm igrant Petition for Alien W orker,
                                                   subm itted on or aboutJuly 28,2014,thatalien J.E.P.C w as to be
                                                   em ployed atCV -I as a m ultinationalexecutive orm anager.

            2                     M .E.            On the Form 1-140, Imm igrant Petition for Alien W orker,
                                                   subm itted on or about April 1,2016,that alien M .E . w as to be
                                                   employedatthedefendant'scompany,PetitBakery CafeLLC, as
                                                   am ultinationalexecutiveorm anager.

            3                     V.L.             On the Form 1-140, lmm igrant Petition for Alien W orker,
                                                   subm itted on or about M ay 5, 2016,that alien V .L. w as to be
                                                   em ployed atCV -3 asa m ultinationalexecutive orm anager.

            4                     M .F.            On the Fonn 1-140, Im m igrant Petition for Alien W orker,
                                                   submitted on oraboutM arch 9,2017,thatalien M .F.wasto be
                                                   em ployed atCV -2 as a m ultinationalexecutive orm anager.


   AllinviolationofTitle18,UnitedStatesCode,Sections1546(a)and2.

                                                   FO RFEITU RE A LL EG AT IO N S
                                                                 (18U.S.C.j982(a)(6))
                                 The allegations of this lndictm ent are re-alleged and by this reference fully

   incorporated herein foralleging crim inalforfeitureto the United StatesofAm erica ofcertain property

  in which the defendant,JENN Y H ER NA N D EZ,hasan interest.

                                 Upon theeonvidion ofa violation ofTitle 18,United StatesCode,Section 1546,

  asalleged inthislnformation,thedefendantshallforfeitto theUnited StatesofAm erica, pursuant

  toTitle18,UnitedStatesCode,Section982(a)(6),thefollowing:
                                 any conveyance,including any vessel,vehicle,or aircraflused in the com m ission

                 of sueh violation'
                                  ,and
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          (b)    anyproperty,realorpersonal-
                              that eonstitutes,or is derived from or is traeeable to the proeeeds

                        obtained directly orindirectly from the com m ission of such violation;or

                        (2) thatwasusedtofacilitate,orwasintendedtobeusedtofacilitate,the
                        comm ission ofsuch violation.

                 The property subjectto forfeiture includes,butisnotlimited to:realproperty
   located at5461N .U niversity D rive //1204,CoralSprings,FL 33067.

          4.     lfany oftheproperty described above,asa resultofany actorom ission ofany of

   the defendant:

                 a)     cnnnotbe located upon theexercise ofduediligence'
                                                                        ,

                 b)     hasbeen transferred orsold to,ordeposited with,athird party;

                 c)     hasbeenplacedbeyond thejurisdictionofthecourt;
                 d)     has been substantially dim inished in value;or

                 e)     has been com m ingled w ith otherproperty which cnnnotbe divided
                        withoutdifficulty,
   theUnited StatesofAmerica shallbe entitledto forfeitm e ofsubstituteproperty pursuantto Title

   21,UnitedStatesCode,Sedion 853(p).
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             AllpursuanttoTitle18,UnitedStatesCode,Sedion982(a)(6),andtheproceduressetforth
   atTitle 21,U nited States Code,Section 853,asm ade applicable by Title 18, United States Code,

   Section982(b)(1).


   ARIAN A FA RD O OR SH AN
   IJN ITED STA TES A TTORN EY
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  R AN D A LL D .K ATZ
  A SSISTAN T U N ITED STA TES A TTORN EY
Case 0:19-cr-60134-WJZ Document 1 Entered on FLSD Docket 05/24/2019 Page 7 of 10
                         UNITED STATES DISTRICT COUR T
                         SOUTHERN DISTRICT OF FLORIDA

UN ITED STA TES O F A M ER ICA                                CA SE N O .
VS.
                                                                  CERTIFICATE OF TRIAL ATTO RNEY A
JENNY H ERN ANDEZ,
                           D efendant.
                                             /                    Superseding Caselnform ation:


CourtDivision:(SelectOne)                                         New Defendantts)       - Yes             No
                                                                  N umberofN ew Defendants
        M iam i            Key W est --                                  Totalnumberofcounts
        FTL - -X-          W PB                FTP
        ldohereby certif.ythat:
        1.     Ihavecarefullyconsideredtheallegationsoftheindictm ent,thenumberofdefendants,thenum berofprobable
               witnessesand thelegalcomplexitiesoftheIndictment/lnformation attached hereto.
                 lam awarethatthe inform ation supplied on thisstatem entw illberelied upon bythe JudgesofthisCourtin
                 settingtheircalendarsandschedulingcrim inaltrialsunderthemandateoftheSpeedy TrialA ct,Title28U .S.C.
                 Section 3161.

                 lnterpreter:       (YesorNo)            Yes
                 Listlanguageanll/ordialect              panish
                 Thiscasewilltake            ()       daysforthepartiestotl'
                                                                           y.
                 Pleasecheck appropriatecategoryandtypeofoffenselistedbelow:
                 (Checkonlyone)                                         (Checkonlyone)
        l        0 to 5 days               X                            Petty
        11       6 to 10 days                                           M inor
        Ill      11 to 20 days                                          M isdem .
        IV       21 to 60 days                                          Felony            X
        V        61daysandover
        6.       HasthiscasebeenpreviouslyfiledinthisDistrictCourt?                 NO        (YesorNo)
        lfyes:
        Judge:                                                       CaseN o.
        Hasacomplain(tAt
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                                                     r             (YesorNo)
        lfyes:
        M agistrateCaseNo.
        Related M iscellaneousnum bers:
        Defendantts)infederalcustodyasof
        Defendantts)instatecustodyasof
        Rule20 from theD istrictof

        lsthisapotentialdeathpenaltycase?                           (YesorNo)
                 Doesthiscase originate from a matterpending in theNorthern Region oftheU.S.Attorney'sOfficepriorto
                 October 14,2003?         Y es      X     No

                 Doesthiscase originate from a m atterpending in the CentralRegion ofthe U.S.Attorney'sOffice priorto
                 September 1,2007:/               Yes       X      No


                                                                     N DA LL D .KATZ
                                                                  A SSISTAN T UNITED STA TES ATTO N EY
                                                                  FloridaBarN o./courtN o.AXXXXXXXX
Penalty Sheetts)attached                                                                                  REv 4/8/08
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                             U NITED STATE S D ISTR ICT C O UR T
                             SO UTH ERN D ISTR ICT O F FL O R ID A

                                           PEN A LTY SH EET



Defendant's N am e:JEN N Y H ER NA N DEZ

Case N o:

Counts #:1-4

   M aterialFalse Statem enton lm m igration D ocum ent

   In violation ofTitle 18.United StatesCode,Sedion 15464a)

+M ax.Penalty:Ten (10)years'imprisonment;tlu'
                                            ee(3)yearsupervisedrelease;and$250,000fine.
Count




*M ax.Penalty:

Count




*M ax.Penalty:

Count #:




WAlax.Penalty:
   *Refers only to possible term of incaroeration, ioes not include possible fines, restitutinn, special
   assessments, parele terms or forfeitures that may be applicable.
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                           U N IT ED STA TE S D ISTR IC T C O U R T
                              SO UTH ERN D ISTR IC T O F FLO RIDA

                          CA SE NU M BER :

                                   BO ND RECO M M ENDATIO N



D EFENDAN T:JENNY HERNAN DEZ

             $100,000 PersonalSurety bond co-signed by defendant'sbrother
             (PersonalSurety)(CorporateSurety)(Cash)(Pre--rrialDetention)




                                               By:
                                                       USA : RandallD .Katz




LastKnown Address:




W hatFaciIity.




Agentts):          ScottUnger,HSI
                   (FBI) (SECRET SERVICE) (DEA) (lRS) (lCE) (OTHER)
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AO 455(Rev.01/09)WaiverofanIlldictment

                                 U NITED STATES D ISTRICT COURT
                                                      forthe
                                            Southern DistrictofFlorida

               United StatesofAmerica                    )
                            V.                           )     CaseNo.
                   Jenny Hernandez,                      )
                                                         )
                                                         )

                                         W AW ER OF AN INDICTM ENT

       ltlnderstandthat1havebeen accused ofoneorm oreoffensespunishableby im prisomnentform orethan one
year. 1wasadvised in open courtof1ny rightsand the natureoftheproposed chargesagainstme.

         Afterreceiving thisadvice,lwaive 1ny rightto prosecution by indictm entand consentto prosecution by
inform ation.




                                                                                 Defendant'
                                                                                          ssignature




                                                                     KNISTIN FJGW -X A-CONTRE-V W LS-QU..-
                                                                           Printednalneofdefendant'
                                                                                                  sattorney




                                                                                      United States M agistrate Judqe
                                                                             Judge'
                                                                                  sprintednameandtitle
